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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA : Case No. 07-20156
Plaintiff, : Judge Avern Cohn

vs.
NADA NADIM PROUTY,

Defendant.

 

MOTION TO COMPEL ENFORCEMENT OF MAY 13, 2008
JUDGMENT AND ORDERS ON BEHALF OF
DEFENDANT NADA NADIM PROUTY

Thomas W. Cranmer, Esq. (P25252)

MILLER CANFIELD PADDOCK
AND STONE, P.L.C.

840 West Long Lake Road, Suite 200

Troy, Michigan 48098

Tel: 248-879-2000

Fax: 248-879-2001

Cranmer@millercanfield.com

Howard M. Shapiro, Esq.

WILMER CUTLER PICKERING
HALE AND DORR LLP

1875 Pennsylvania Ave, NW

Washington, D.C, 20006

Tel: 202-663-6000

Fax: 202-663-6363

Howard.Shapiro@wilmerhale.com

Counsel for Defendant Nada Nadim Prouty

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Defendant Nada Nadim Prouty, by and through her attorneys, Miller Canfield Paddock
and Stone, P.L.C. and Wilmer Cutler Pickering Hale and Dorr LLP, moves to enforce the court’s
judgment and orders of May 13, 2008 and compel the government to confirm that it is not

seeking to deport Ms. Prouty. The basis for the Motion is set forth below in the Brief in Support.

Dated: July 24, 2009

Respectfully submitted,

By: s/Thomas W. Cranmer

Thomas W. Cranmer, Esq. (P25252)

MILLER CANFIELD PADDOCK
AND STONE, P.L.C,

840 West Long Lake Road, Suite 200

Troy, Michigan 48098

Tel: 248-879-2000

Fax: 248-879-2001

Cranmer@millercanfield.com

Howard M. Shapiro, Esq.

WILMER CUTLER PICKERING
HALE AND DORR LLP

1875 Pennsylvania Ave, NW

Washington, D.C. 20006

Tel: 202-663-6000

Fax: 202-663-6363

Howard.Shapiro@wilmerhale.com

Counsel for Defendant Nada Nadim Prouty

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA : Case No. 07-20156
Plaintiff, Judge Avern Cohn

YS.
NADA NADIM PROUTY,

Defendant.

 

BRIEF IN SUPPORT OF DEFENDANT NADA NADIM PROUTY’S
MOTION TO COMPEL ENFORCEMENT OF
MAY 13, 2008 JUDGMENT AND ORDERS

Thomas W. Cranmer, Esq. (P25252)

MILLER CANFIELD PADDOCK
AND STONE, P.L.C.

840 West Long Lake Road, Suite 200

Troy, Michigan 48098

Tel: 248-879-2000

Fax: 248-879-2001

Cranmer@millercanfield.com

Howard M. Shapiro, Esq.

WILMER CUTLER PICKERING
HALE AND DORR LLP

1875 Pennsylvania Ave, NW

Washington, D.C. 20006

Tel: 202-663-6000

Fax: 202-663-6363

Howard.Shapiro@wilmerhale.com

Counsel for Defendant Nada Nadim Prouty

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INTRODUCTION

Despite the passage of a year’s time since the resolution of her criminal case, Ms. Prouty
continues to suffer from the consequences of the government’s initial mischaracterization of her
loyalty to the United States. Since she was sentenced in May 2008, the Bureau of Immigration
and Customs Enforcement (“ICE”) has threatened to deport her. (See Prouty Decl., Ex. 1.) ICE
has also imposed a 50-mile travel restriction, from which she must receive ICE authorization to
exceed. (See Order of Supervision, June 23, 2008; Ex. 1-E to Prouty Declaration.)
Inflammatory and inaccurate press releases remain on the government’s website. Banks and
other financial institutions have canceled her existing accounts and refused to allow the opening

of new accounts on the basis of a mischaracterization of her offenses. (See Prouty Decl., Ex. 1.)

Ms. Prouty had hoped that the court’s findings at sentencing and the passage of time
would help to reestablish the fact that she never compromised national security. The succeeding
months, however, have been marked not only by the events described above, but by the
government’s October 2008 award for the prosecution of this case, titled the Three-Year
Investigation of Hizballah. (See Department of Justice, Recipients of the Attorney General’s
56th Annual Awards, http://www.usdoj.gov/jmd/ps/selectionsannualawards2008.pdf.) More
recently, on March 10, 2009, the government requested the surrender of her canceled
naturalization certificate, leading her to fear there may be renewed interest in her immigration
status. (See Prouty Decl., Ex. 1.) Finally, most recently, Ms. Prouty’s sister, Ms. El Aouar, who
was involved in related proceedings in this case, was arrested by ICE at her home. ICE agents
disputed the agreement that was reached between Ms. El Aouar’s then-counsel, Mr. James
Thomas, and held her in custody from April 21, 2009 through April 24, 2009. Ms. Prouty

accordingly seeks at this time a measure of closure and affirmative relief. This court has the

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authority, pursuant to its judgment and orders of May 13, 2008, to compel the government to

confirm that it is not seeking to deport her.

FACTUAL BACKGROUND

A. Guilty Plea and Court’s Orders of May 13, 2008

On November 13, 2007, Nada Nadim Prouty pleaded guilty before this court to
naturalization fraud and conspiracy to commit the same, 18 U.S.C. §§ 1425 and 371 (2000),
and a misdemeanor charge of unauthorized computer access, 18 U.S.C. § 1030. (See Rule 11
Plea Agreement, Nov. 13, 2007.) Pursuant to conviction under Title 18, United States Code,
Section 1425, her U.S. citizenship was automatically revoked. (See Order Revoking United
States Citizenship, May 13, 2008 (citing 8 U.S.C. § 1451(e))1 As part of the plea, Ms. Prouty
agreed to waive her rights to receive notice of intent to request judicial removal, to any hearing
on the question of her removability, including the rights she would normally have in a
contested proceeding, and to apply for relief from removal, including appeal. (See Rule 11
Plea Agreement at | 8, Nov. 13, 2007.) Instead, she became subject to this court’s authority to
order her removal and was simultaneously granted withholding of removal pursuant to 8
U.S.C. §§ 1231(b)(3), 1228(c)(5).2 Upon the conclusion of any sentence imposed by the court,
Ms. Prouty further agreed to supervision by ICE. (See Rule 11 Plea Agreement at 1 8, Nov.

13, 2007.)

 

+8 U.S.C. § 1451(e) (“When a person shall be convicted under section 1425 of Title 18 of knowingly procuring
naturalization in violation of law, the court in which such conviction is had shall thereupon revoke, set aside, and
declare void the final order admitting such person to citizenship, and shall declare the certificate of naturalization of
such person to be canceled. Jurisdiction is conferred on the courts having jurisdiction of the trial of such offense to
make such adjudication.”).

* 8 ULS.C. § 1228(c)(5) (“The United States Attorney, with the concurrence of the Commissioner, may, pursuant to
Federal Rule of Criminal Procedure 11, enter into a plea agreement which calls for the alien, who is deportable

under this chapter, to waive the right to notice and a hearing under this section, and stipulate to the entry of a judicial
order of removal from the United States as a condition of the plea agreement or as a condition of probation or
supervised release, or both. The United States district court, in both felony and misdemeanor cases, and a United

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It is our understanding, and we believe the court’s understanding, that pursuant to the
terms and conditions of the agreement between the parties, the government would not seek to
deport Ms. Prouty, not only to Lebanon, but to any other country, Thus, on May 13, 2008, the
court sentenced Ms. Prouty to a $750 fine (see Judgment in a Criminal Case, May 13, 2008),
revoked her citizenship (see Order Revoking United States Citizenship, May 13, 2008), ordered
her removal from the United States to her native country Lebanon, and then withheld that
removal. (See Judicial Order of Removal to Lebanon and Concurrent Grant of Withholding of
Removal to Lebanon, May 13, 2008.) (‘It is further ordered that Nada Nadim Prouty .. . is
granted withholding of removal to the country of Lebanon pursuant to Title 8, United States
Code, section 1228(c), and that the order of removal to Lebanon is withheld.”). The parties all
understood that Ms. Prouty was to be permitted to remain in the United States because of
concerns for her safety abroad. (See Rule 11 Plea Agreement at J 8, Nov. 13, 2007) (citing to 8
U.S.C. § 1231(b)).

B. ICE Supervision

On June 23, 2008, ICE issued an Order of Supervision, signed by Deborah Achim, Field
Office Director, requiring Ms. Prouty to report monthly in person, among other conditions. (See
Order of Supervision, June 23, 2008; Ex. 1-E to Prouty Declaration.) Ms. Prouty appeared for
her first visit on June 19, 2008. (See Prouty Decl., Ex. 1.) During that visit, she was placed in a
holding cell. ICE Supervisory Special Agent Barr, accompanied by Deportation Officer Oscar
Gonzalez, told Ms. Prouty that ICE was “actively seeking” to deport her to an unidentified
country other than Lebanon, Id, She was instructed that she should arrive at every reporting

session with her belongings packed and ready for deportation. Id. Ms, Prouty voiced her

 

States magistrate judge in misdemeanor cases, may accept such a stipulation and shall have jurisdiction to enter a
judicial order of removal pursuant to the terms of such stipulation.) (emphasis added).

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concern that deportation to certain countries, based on her prior government service work in
national security could jeopardize her safety, and that this information was in her file. Id. The
agent stated that he had not read her file and did not know who was responsible for doing so, Id.
He suggested that if Ms. Prouty had a concern about the country to which she might be deported,
she should contact the United Nations to seek removal in advance of the government doing so.
Id. Moreover, ICE instructed her that because her deportation order was “final,” it meant that
ICE was committed to deporting her, and her circumstances might get worse. Id. ICE asserted
that her case was “being handled out of ICE headquarters,” and that the Washington Field Office
was following those instructions. Id. To date, the instructions to Ms. Prouty to be packed and
ready for deportation remain in effect, As recently as March 6, 2009, another ICE supervisory
special agent informed Ms. Prouty that he had received “a message that I need to collect your
U.S. Naturalization certificate.” Id. This was followed by an identical request on March 10,
2009 by the prosecution. On April 2, 2009, the prosecution informed Ms. Prouty that it is a
felony to fail to surrender a cancelled naturalization certificate and any and all copies thereof. Id.
Additionally, such a felony would also violate the terms of ICE’s Order of Supervision and thus
permit ICE to take Ms. Prouty into immediate custody. Id. Ms. Prouty is fully aware that her
certificate is canceled and void; the request at this time, however, renews her concern that her
immigration status is uncertain and the government may be seeking to deport her.

In addition to the threat of deportation, ICE imposed other restrictions on Ms. Prouty in
its Order of Supervision. Ms. Prouty must give notice to ICE and receive permission to travel
outside of a 50-mile radius of her home, (see Order of Supervision, June 23, 2008; Ex. 1-E to

Prouty Declaration), or face the threat of arrest. (See Prouty Decl., Ex. 1.)

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Cc. Government Mischaracterization
Surrounding the entry of Ms. Prouty’s plea, the government issued a number of
comments in press releases stating that she was disloyal to American interests, among them:

e “[Ms. Prouty] engaged in a pattern of deceit. . . to obtain and exploit her access to
sensitive counterterrorism intelligence.” (Press Release, Department of Justice,
Former Employee of CIA and FBI Pleads Guilty to Conspiracy, Unauthorized Computer
Access, and Naturalization Fraud (Nov. 13, 2007), http:/Avww,usdoj.gov/opa/pr/2007/
November/07_nsd_910.html and hitp://detroit.fbi.gov/dojpressrel/pressrel07/

de111307.htm) (quoting Assistant Attorney General Kenneth Wainstein) (emphasis
added). .

e “Nada Prouty's guilty plea should serve as a solemn warning to those who say they've
pledged their allegiance to the United States and then make the conscious decision to
place America's interests at risk.” Id. (quoting Brian Moskowitz, Special Agent in
Charge of the ICE Office of Investigations in Detroit) (emphasis added).
Subsequent to Ms. Prouty’s plea, her bank, USAA Federal Savings Bank (“USAA”)

responded to the allegations of disloyalty by freezing her funds and began the process of closing
her accounts. (See Prouty Decl., Ex. 1.; Letter from Gordon Prouty and Nada Prouty, to USAA
Federal Savings Bank, Ex. 1-A to Prouty Declaration;. and Letter from USAA Federal Savings
Bank to Gordon and Nada Prouty, Ex. 1-B to Prouty Declaration.) USAA did so because it
determined that Ms. Prouty posed an “unwarranted risk.” (See Letter from Linda McCaig,
Consumer Affairs Specialist, Office of Thrift Supervision, to Gordon Prouty (June 10, 2008), Ex.
1-C to Prouty Declaration.) Because banks are obligated to avoid terrorist financing, they have
broad discretion to make determinations of risk, see Bank Secrecy Act, 31 U.S.C. §§ 5311-5330
(2000 & Supp. 2008), and have the ability to close client accounts deemed to be too risky where
the client’s identity cannot be verified. (See 31 C.F.R. §§ 103.121(b) (2009) (requirements to

identify account holders); 103.135 (obligations for credit card systems to guard against financing

of terrorist activities).

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However, upon review of the record, the court determined at sentencing that Ms. Prouty
was never, in fact, disloyal: “At no time did [Ms. Prouty] ever compromise or jeopardize the
integrity of any work assignment to improper behavior or inappropriate conduct.” (See
Sentencing Hr’g Tr. 12, May 13, 2008.) The prosecution conceded as much during the
sentencing hearing: “Now, I’m not saying Ms. Prouty did that... .” Id. at 10. Nevertheless,
months later, in October 2008, the Department of Justice awarded the prosecution in this case for
“elimination of vulnerabilities to the Nation’s security within the intelligence community and...
uncovering numerous compromises in classified national security investigations into the
activities of the designated foreign terrorist organization, Hizballah....” (See Department of
Justice, Award Program for The Attorney General’s 56" Annual Awards Ceremony (Oct. 22,
2008) http://legaltimes.typepad.com/blt/files/ag_awardprogram_2008.pdf.)

ARGUMENT

A, Government Threat of Deportation Is Misplaced and Contrary to
Representations Made to this Court.

Commensurate with what we believe was the understanding between the parties and this
court that the government would not seek to deport Ms. Prouty, either to Lebanon or any other
country, Ms. Prouty pleaded guilty (see Rule 11 Plea Agreement, Nov. 13, 2007), waived rights
to an administrative proceeding with respect to removability, and availed herself of the court’s
jurisdiction instead to sign related orders that had the effect of allowing her to remain in the
United States. (See Order Revoking United States Citizenship, May 13, 2008; Judicial Order of
Removal to Lebanon and Concurrent Grant of Withholding of Removal to Lebanon, May 13,
2008.) This process took place pursuant to the court’s jurisdiction. (See 8 U.S.C. 1228(c)(5))
(“The United States district court, in both felony and misdemeanor cases . . . shall have

jurisdiction to enter a judicial order of removal pursuant to the terms of such stipulation.”’);

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United States v. Angel-Martinez, 988 F. Supp. 475, 481 (D.N.J. 1997) (explaining that the

 

exception to the jurisdiction of immigration judges is 8 U.S.C. § 1228(c)(5), when a district court
has jurisdiction to decide removal where the defendant stipulates to deportation, there is a
request from the United States Attorney, and consent from the Commissioner). The government
cannot now, in good faith, be secking her deportation, as claimed by an ICE supervisory agent
and never withdrawn. Such a threat raises an issue that is properly within the court’s
jurisdiction. It is the province of the district court in this case to hear what, if any, removal
proceedings are contemplated, (see 8 U.S.C. § 1228(c)(5)), particularly in light of Ms. Prouty’s
unique government service. |

This court has the authority to ensure that Ms. Prouty not be deported from the United
States.

B. Further Actions of (CE Are Unnecessary.

ICE demands that Ms. Prouty report in person every month. (See Order of Supervision,
June 23, 2008; Ex. 1-E to Prouty Declaration.) It also demands that she does not travel outside a
50-mile radius of her home without advance, written permission from ICE. Id. She must request
ICE’s authorization to travel and provide “information about the dates, purposes, places and
manner of such proposed travel.” Id, The restrictions forbid her even from driving to Baltimore,
because it is just outside the 50-mile perimeter. In light of the threats of deportation described
above, these additional restraints only serve to exacerbate Ms. Prouty’s apprehension about her
immigration status and are not necessary to achieve any legitimate government purpose.

CONCLUSION
Upon the resolution of her criminal case, Ms. Prouty hoped that, over time, the court’s

finding that she did not threaten national security would prevail. However, ICE’s actions, by

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threatening her with deportation and most recently threatening criminal consequences and
immediate detainment regarding its request for her canceled naturalization certificate, give Ms.
Prouty reason to fear the government’s intentions with respect to her immigration status. The
original mischaracterization of her offenses, instead of waning with the passage of time,
continues with events such as the government’s October 2008 “Investigation of Hizballah”
award. She remains unable to access financial institutions for banking services and she resides in
a state of uncertainty, mindful of the admonition that she be prepared, upon each ICE reporting
visit, for deportation. For the above reasons, Ms. Prouty respectfully requests that the court issue
an order confirming that Ms. Prouty is not to be deported and requiring the government to refrain
from engaging in any further conduct that perpetuates the original mischaracterization of her
loyalty and has no legitimate government purpose.
Dated: July 24, 2009

Respectfully submitted,

By: s/Thomas W. Cranmer

Thomas W. Cranmer, Esq. (P25252)

MILLER CANFIELD PADDOCK
AND STONE, P.L.C.

840 West Long Lake Road, Suite 200

Troy, Michigan 48098

Tel: 248-879-2000

Fax: 248-879-2001

Cranmer@millercantfield.com

 

Howard M. Shapiro, Esq.

WILMER CUTLER PICKERING
HALE AND DORR LLP

1875 Pennsylvania Ave, NW

Washington, D.C. 20006

Tel: 202-663-6000

Fax: 202-663-6363

Howard.Shapiro@wilmerhale.com

Counsel for Defendant Nada Nadim Prouty

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CERTIFICATE OF SERVICE

Thereby certify that on July 24, 2009, I electronically filed the foregoing paper with the
Clerk of the court using the ECF system which will send notification of such filing to the

following:

e Christopher A. Andreoff
candreoff@jafferaitt.com,mgeiersbach@jaffelaw.com

e Kenneth R. Chadwell
ken.chadwell@usdoj.gov,usamic.ecfctu@usdoj.gov

e Mark J. Jebson
mark.jebson@dhs.gov

« Eric M. Straus
eric.straus@usdoj.gov,stacey.harris@usdoj.gov

¢ James C. Thomas
jthomas@plunkettcooney.com,btessier3@hotmail.com

And hereby certify that [have mailed by United States Postal Service the paper to the following
non-ECF participants:

NONE.

By: s/Thomas W. Cranmer
Thomas W. Cranmer (P25252)
Miller, Canfield, Paddock and Stone, P.L.c.
840 West Long Lake Road, Suite 200
Troy, Michigan 48098-6358
Telephone: (248) 267-3381
Dated: July 24, 2009 Cranmer@millercanfield.com

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